Case 3:09-cr-01209-H    Document 465      Filed 03/12/10    PageID.1592     Page 1 of 1



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                           UNITED STATES DISTRICT COURT
 9
                        SOUTHERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,         )            Case No. 09-CR-1209-H
                                       )
13                    Plaintiff,       )            ORDER GRANTING JOINT MOTION
                                       )            TO CONTINUE SENTENCING HEARING
14   v.                                )
                                       )
15   MICHAEL IVY, (2)                 )
                                       )
16                    Defendant.       )
     _________________________________)
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           GOOD CAUSE APPEARING and based on the stipulation of the parties, the time for
19
     the sentencing hearing is continued from April 5, 2010 at 9:00 a.m. to June 14, 2010 at 9:00
20
     a.m. The Court accepted the defendant’s guilty plea on February 25, 2010. The defendant is
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     on bond and has filed an Acknowledgment of the Next Court Date.
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           IT IS SO ORDERED.
23
     Dated: March 12, 2010
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                                              ________________________________
25                                            MARILYN L. HUFF, District Judge
                                              UNITED STATES DISTRICT COURT
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